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                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF IOWA
UNITED STATES OF AMERICA,                    )
                                             )
                       Plaintiff,            )
                                             )
                        vs.                  )   Case No. 4:16-cr-00126-RGE-CFB
                                             )
LEE ANTHONY FLORES ESCARENO,                 )
                                             )
                       Defendant.            )

    REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY

        The United States of America and the Defendant, having both filed a written consent,

appeared before me pursuant to Rule 11, Fed. R. Crim. P. and L. Cr. R. 11. The Defendant

entered a plea of guilty to Count 1 and Count 3 of the Second Superseding Indictment. After

cautioning and examining the Defendant under oath concerning each of the subjects mentioned in

Rule 11, I determined that the guilty plea was knowing and voluntary as to each count, and that the

offense charged is supported by an independent factual basis concerning each of the essential

elements of such offense. Defendant understands and agrees to be bound by the terms of the Plea

Agreement. I, therefore, recommend that the plea of guilty be accepted, that a pre-sentence

investigation and report be prepared, and that the Defendant be adjudged guilty and have sentence

imposed accordingly.



Date                                         CELESTE F. BREMER
                                             CHIEF UNITED STATES MAGISTRATE JUDGE


                                            NOTICE

Failure to file written objections to this Report and Recommendation within fourteen (14) days
from the date of its service shall bar an aggrieved party from attacking such Report and
Recommendation before the assigned United States District Judge. 28 U.S.C. 636(b)(l)(B).
